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8
                           IN THE UNITED STATES DISTRICT COURT
9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                                     Case No. 4:21-cv-03716-PJH
12   ASBESTOS DISEASE AWARENESS
     ORGANIZATION, et al.,                           STIPULATION OF DISMISSAL
13
                      Plaintiffs,
14
                    v.
15
16   LEE ZELDIN, 1 in his official capacity as the
     Administrator of the United States
17   Environmental Protection Agency, et al.,
18                         Defendants.
19
20
            Plaintiffs Asbestos Disease Awareness Organization, American Public Health
21
     Association, Center for Environmental Health, Environmental Information Association, Safer
22
     Chemicals Healthy Families - A Program of Toxic-Free Future, Vermont Public Interest
23
     Research Group, Barry Castleman, ScD, Raja Flores, MD, Arthur Frank, MD, PhD, Phillip
24
     Landrigan, MD, MSc, Richard Lemen, PhD, MSPH, and Celeste Monforton, DrPH, MPH
25
     (“ADAO Plaintiffs”) and Defendants Lee M. Zeldin, Administrator of the United States
26
27   1
       Administrator Lee Zeldin is substituted for former Administrator Michael S. Regan pursuant
28   to Federal Rule of Civil Procedure 25(d).


                                                                            STIPULATION OF DISMISSAL
                                                                          CASE NO. 4:21-CV-03716-PJH
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1    Environmental Protection Agency, and the United States Environmental Protection Agency
2    (collectively “EPA”) submit this stipulation of dismissal pursuant to the Consent Decree
3    entered in this case on October 13, 2021. Dkt. No. 27.
4           The Consent Decree provided that once (a) EPA completed Part 2 of its risk evaluation
5    of asbestos (Legacy Uses and Associated Disposals of Asbestos), and (b) the parties resolved
6    the ADAO Plaintiffs’ claim for costs of litigation, this case shall be dismissed with prejudice.
7    Id. ¶ 17. The parties resolved the ADAO Plaintiffs’ claim for costs of litigation in 2022, see
8    Dkt. No. 37, and EPA completed the final supplemental risk evaluation under the Toxic
9    Substances Control Act for asbestos—entitled Risk Evaluation for Asbestos Part 2:
10   Supplemental Evaluation Including Legacy Uses and Associated Disposals of Asbestos—on
11   November 26, 2024. See 89 Fed. Reg. 95777 (Dec. 3, 2024); see id. at 95779 (notice signed on
12   November 26, 2024).
13          Therefore, the Court should terminate the Consent Decree and dismiss this case with
14   prejudice.
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                                                                               STIPULATION OF DISMISSAL
                                                                             CASE NO. 4:21-CV-03716-PJH
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1    Respectfully submitted,
2    Date: February 11, 2025
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                                                                    STIPULATION OF DISMISSAL
                                                                  CASE NO. 4:21-CV-03716-PJH
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1                                        ECF ATTESTATION
2           In accordance with Civil Local Rule 5-1(i)(3), I, Jeffrey Hughes, attest that I have
3    obtained concurrence in the filing of this document from all other signatories listed here.
4
5                                                         /s/ Jeffrey Hughes
6                                                         Jeffrey Hughes
                                                          United States Department of Justice
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                                                                             CASE NO. 4:21-CV-03716-PJH
         Case 4:21-cv-03716-PJH         Document 44        Filed 02/11/25      Page 5 of 5




1                                       CERTIFICATE OF SERVICE
2           I hereby certify that on this 11th day of February, 2025, a true and correct copy of the
3    foregoing was filed electronically with the Clerk of the Court using CM/ECF. I also certify that
4    the foregoing document is being served on all counsel of record via transmission of Notices of
5    Electronic Filing generated by CM/ECF.
6
7
                                                         /s/ Jeffrey Hughes
8                                                        Jeffrey Hughes
                                                         United States Department of Justice
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                                                                                CERTIFICATE OF SERVICE
                                                                            CASE NO. 4:21-CV-03716-PJH
